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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

 UNITED STATES OF AMERICA,                    CR 14-23-BU-DLC

                         Plaintiff,           UNITED STATES’ RESPONSE

           vs.

 ANGEL ITURBE-GONZALEZ,

                         Defendant.




      Comes now the United States of America by and through its counsel, Tara J.

Elliott, Assistant United States Attorney for the District of Montana, and hereby

responds to the Court’s Order dated July 22, 2019.   (Doc. 98.)
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      The United States made two formal plea offers to the defendant. The first

plea agreement provided to the defendant (“PA1”) was sent to the defense counsel

on April 6, 2015. See Ex. A.     PA1 contemplated a plea under Rule 11(c)(1)(A)

and (B) of the Federal Rules of Criminal Procedure with a corresponding

superseding information.

      The second plea agreement provided to the defendant (“PA2”) was sent to

the defense counsel on April 15, 2015. See Ex. B. PA2 contemplated a plea

under Rule 11(c)(1)(A), (B), and (C) of the Federal Rules of Criminal Procedure

with a corresponding superseding information and an agreed upon sentence of 57

months.    Id. at 2-3.

      Additionally, while this may not be the Court’s direct concern, the

Government’s Trial Brief references the two plea agreements and their existence

was discussed at the pretrial conference. See Doc. 30 at 4 and Ex. C (excerpt

from pretrial conference transcript).

      The Government hopes these facts remedy the Court’s concerns, but should

the Court require additional information, the Government respectfully requests that

the Court grant an Order allowing previous counsel, John Rhodes, to waive

attorney/client privilege in order to assist in the Government’s support of the

defendant’s conviction.

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Respectfully submitted this 23rd day of July, 2019.

                                KURT G. ALME
                                United States Attorney


                                /s/ Tara J. Elliott
                                Assistant U.S. Attorney
                                Attorney for Plaintiff




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                        CERTIFICATE OF SERVICE

      I hereby certify that on July 23, 2019, a copy of the foregoing document was

served on the following persons by the following means:

      (1)   CM/ECF
      ()    Hand Delivery
      ()    U.S. Mail
      ()    Overnight Delivery Service
      ()    Fax
      ()    E-Mail

1.    Clerk, U.S. District Court



                                             /s/ Tara J. Elliott
                                             Assistant U.S. Attorney
                                             Attorney for Plaintiff




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